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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SANDRA R. PERRY

        Plaintiff

                  v.                              Civil Action No. 1:17-cv-03619-MJG

 STATE OF MARYLAND et al.

        Defendants


                       Motion to Dismiss for Failure to State a Claim
                           Upon Which Relief Can be Granted
       Allen J. Perdue, Defendant, by and through his attorneys, John K. Phoebus, Kristy M.

Hickman, and Anthenelli, Phoebus & Hickman, LLC, moves this honorable Court to dismiss

Plaintiff Sandra Perry’s Complaint as to this Defendant for failure to State a claim upon which

relief can be granted, pursuant to Fed. R. Civ. P. 12(b)(6).

       1. Plaintiff Sandra Perry filed a complaint alleging that Defendant Allen Perdue and

other co-defendants violated Title VII of the Civil Rights Act of 1964 and that they committed

the state torts of civil conspiracy and intentional infliction of emotional distress.

       2. Counts one, two, and three, which allege various violations of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. §§ 2000e et seq., should be dismissed because Defendant Allen

J. Perdue is not an employer and non-employers are not liable individually for alleged Title

VII violations.

       3. Count four, which alleges a Maryland state tort claim of civil conspiracy to violate

Title VII, should be dismissed as to Defendant Allen J. Perdue, because, under Maryland law,
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a person can only be liable for conspiring to commit an act that he has the capacity to commit.

Because Defendant Allen J. Perdue is incapable, as a non-employer, of violating Title VII, he

cannot be liable for conspiring with other defendants, even those so capably, to violate Title

VII.

       4. Count five, which alleges a Maryland state tort claim of intentional infliction of

emotional distress, should be dismissed as to Defendant Allen J. Perdue, because the Plaintiff

does not claim conduct by this Defendant that is extreme and outrageous causally related to

several emotional distress.

       5. All five of the counts, as to Defendant Allen J. Perdue, should be dismissed for

failure to state a claim upon which relief can be granted.

       6. Defendant Allen J. Perdue incorporates by reference the simultaneously filed

Memorandum of Law in Support of Motion to Dismiss.

       WHEREFORE, Defendant Allen J. Perdue respectfully requests that this honorable

Court dismiss the Plaintiff’s Complaint as to this Defendant, with prejudice, and for such other

and further relief as the nature of this action may require.


                                                     /s/
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                                                    /s/
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                                         Attorneys for Defendant Allen J. Perdue

Date: December 29, 2017

                            CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of December, 2017, copies of the Defendant’s
Motion to Dismiss for Failure to State a Cause of Action, Memorandum of Law, and proposed
order were served electronically via the CM/ECF system to:

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                                               /s/
                                         John K. Phoebus, Bar Number 25169
